Case 9:12-cv-80447-KLR Document 1 Entered on FLSD Docket 04/26/2012 Page 1 of 9



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.



 SUZETTE GUILLAUME, individually and on behalf
 of persons similarly situated,

          Plaintiff,

 v.

 SELECT MEDICAL CORPORATION,
 SELECT EMPLOYMENT SERVICES, INC., and
 XYZ ENTITIES l-10 (fictitious names of unknown liable entities),

          Defendants
                                                             t


                                           COMPLAINT

          Plaintiff, SUZETTE GUILLAUME, on behalf of herself individually and others similarly

 situated, hereby asserts the following causes of action:

                                         NATURE OF ACTION

  l.   Plaintiff brings this collective action for overtime compensation and other relief under the

       Fair Labor Standards Act ("FLSA^),29 U.S.C. S20l et seq., on behalf of herself and on

       behalf of other, similarly situated, current and former employees of Defendants, SELECT

       MEDICAL CORPORATION, and its divisions, subsidiaries and afflrliates, however

       constituted, including but not limited to SELECT EMPLOYMENT SERVICES, INC. and

       XYZ ENTITIES l-10, all doing business throughout the United States, including in Palm

       Beach County and throughout the State     of Florida" within the jurisdiction of this Court

       (collectively as "Defendants").



                                              Page   I of8
Case 9:12-cv-80447-KLR Document 1 Entered on FLSD Docket 04/26/2012 Page 2 of 9



      The scope of this collective action is nationwide and include each and every State in the

      United States where any Defendant does business.

                                                  PARTIES

 J.   Plaintiff, SUZETTE GUILLAUME, worked for Defendants as a non-exempt Certified

      Nursing Assistant (CNA) between approximately November 2009 and April 2011. At all

      times material hereto, Plaintiffperformed a substantial part of her work duties for Defendants

      in Palm Beach County, Florida, within the jurisdiction of this Court.

 4. Based upon        information and belief, Defendants, SELECT MEDICAL CORPORATION,

      SELECT EMPLOYMENT SERVICES, [NC., andXYZ ENTITIES l-10, are doing business

      at: (a) more than one hundred (100) hospital locations in twenty-eight (28) different States,

      including facilities doing business as SELECT SPECIALTY HOSPITAL and REGENCY

      HOSPITAL at numerous locations in the State of Florida within the jurisdiction of this Court,

      as well as in Twenty-Seven (27) other States across the Cotrntry; and (b) more than Nine

      Hundred (900) rehabilitation centers in Thirty-Two (32) States throughout the United States.

      It is the intent of this collective action to apply to all similarly situated employees   regardless


      of location.

 5. Defendants,XYZ        ENTITIES 1-10, comprise or operate one or more divisions, subsidiaries,

      or affiliated   companies   of   SELECT MEDICAL CORPORATION. Defendants, XYZ

      ENTITIES 1-10, are fictitious names            for       companies, partnerships,   joint   ventures,

      corporations,   or other entities responsible for the wrongful conduct and labor            practices

      causing harm to the Plaintiffand those similarly situated, as further alleged herein. The        tue

      names and capacities of theseXYZ ENTITIES 1-10 are unknown to             Plaintiffat this time, but



                                                Page 2   of8
Case 9:12-cv-80447-KLR Document 1 Entered on FLSD Docket 04/26/2012 Page 3 of 9



      Plaintiff will further amend the Complaint when and if the true names of said defendants

      become known such that they can be correctly named.

 6.   Defendants directly or indirectly acted in the interest       of an employer toward Plaintiff       and


      other similarly situated, non-exempt hourly employees at all material times, including without

      limitation directly or indirectly controlling the terms of employment and compensation of

      Plaintiff and others similarly situated. Alternately, Defendants, SELECT MEDICAL

      CORPORATION and each             of its respective divisions,   subsidiaries   or affrliates, however

      constituted, including but not limited to SELECT EMPLOYMENT SERVICES, INC. and

      XYZ ENTITIES l-10, were joint employers of Plaintiff and other similarly situated non-

      exempt hourly employees because each, respective division, subsidiary                or affiliate   acts


      directly or indirectly in the interest of the other in relation to such Plaintiffand such similarly

      situated persons. As a further alternative, SELECT          MEDICAL CORPORATION and each of

      their divisions, subsidiaries or affrliates, however constituted for the location(s) at issue,

      including but not limited        to   SELECT EMPLOYMENT SERVICES, [NC. and XYZ

      ENTITIES 1-l0o were joint employers of the Plaintiff and the similarly situated non-exempt

      hourly employees because they commonly controlled the terms                    of   compensation and

      employment of Plaintiff and others similarly situated, and are not completely disassociated

      with respect to the terms of compensation and employment of Plaintiff and others similarly

      situated. As a final alternative, Defendants, SELECT MEDICAL CORPORATION and each

      of their divisions, subsidiaries or affrliates, however constituted for the location(s) at      issue,


      including but not limited        to   SELECT EMPLOYMENT SERVICES,                    nlc.   and XYZ

      ENTITIES    I-I   0, directly or indirectly acted in the interest of an employer toward Plaintiff and

      ottrer similarly situated non-exempt hourly employees at all of Defendants' locations at all

                                                   Page 3   of8
Case 9:12-cv-80447-KLR Document 1 Entered on FLSD Docket 04/26/2012 Page 4 of 9




   material times, including without limitation directly or indirectly controlling the terms       of

   employment and compensation of Plaintiffand others similarly situated.

                            COLLECTIVE ACTION ALLEGATIONS

    7.    This collective action includes Defendants' current and former CNAs, Registered Nurses

          (RN), and other similarly situated non-exempt hourly employees, in one or more

          subclasses, however variously     titled, at any location or facility of every division,

          subsidiary, or affiliate of Defendants, however constituted, including but not limited to

          XyZ ENTITIES l-10 -- who worked in excess of forty (40) hours ("overtime hours") per

          workweek in one or more workweeks on or after April 2009, and who did not receive

          overtime rate of pay for all of their overtime hours within such workweeks based upon

          Defendants' policies or practices, including Defendants' policy or practice of deducting 30

          minutes each day for lunch, without regard to whether Plaintiff and the others similarly

          situated took a bona fide, unintemrpted meal break (collectively, the "Asserted Class'o or

          as those employees   "similarly situated," in one or more subclasses).

    8.    The material time for the claims under the FLSA in this case is the three-year period

          prior to the date of each Plaintiffs or similarly situated person's opting into this action,

          and the period of additional time,   if   any, that each such person's claims were tolled or

          extended by agreement of one or more Defendants, by equity, or by operation of law.

    g. At all times hereto, Plaintiffand all the similarly situated current   and former employees in

          the Asserted Class were performing their duties for the benefit of and on behalf of

          Defendants.

    10.   plaintiff and the other similady situated current and former employees in the Asserted

          Class regularly worked overtime hours.

                                                    Page 4   of8
Case 9:12-cv-80447-KLR Document 1 Entered on FLSD Docket 04/26/2012 Page 5 of 9




    11.   At all times material to this Complaint,   based upon its policies or practices   of failing to

          credit Plaintiff and all similarly situated current and former employees in the Asserted

          Class for all of their overtime hours workedo including the policy or practice of deducting

          30 minutes each day for lunch regardless of whether a bona fide, unintemrpted meal break

          actually was taken, Defendants failed to pay Plaintiff and similarly situated persons

          properly for all overtime hours worked (that is, all of the hours worked in excess of forty

          (40) within a workweek). Defendants' failure to compensate Plaintiff and the similarly

          situated current and former employees in the Asserted Class constitutes a violation of the

          FLSA.

    12.   Plaintiffand those similarly situated were entitled to an overtime rate of pay equal to time

          and one-half wages for overtime hours worked (the "overtime rate of pay").

    13.In the course of employment with Defendants, the Plaintiff and the other current              and


          former employees similarly situated were not paid ttreir overtime rate of pay for all of their

          actual overtime hours worked.

    14. There are estimated      to be thousands of current and former employees within the Asserted

          Class for this collective action during the material time who are similarly situated to

          Plaintiff. With such numbers of similar claims for unpaid overtime compensation, a

          collective action is a superior procedure for adjudicating such claims. Plaintiff requests

          that the Court authorize and supervise notice to the members of the asserted class so that

          all claims may be resolved efficiently in a single proceeding.

    15. The records,    if   any, concerning the members of the asserted class, the number of hours

          actually worked      by Plaintiff and all other similarly situated      employees, and the



                                                 Page 5   of8
Case 9:12-cv-80447-KLR Document 1 Entered on FLSD Docket 04/26/2012 Page 6 of 9



          compensation actually paid, or not paid,       to such employees should be in Defendants'

          possession, custody or control.

                          FURTHER JURISDICTIONAL ALLEGATIONS

    16. Venue    is proper in this Court pursuant to 28 U.S.C. $ 1391.       A   substantial part of the

          events or omissions giving rise to claims in this Complaint occurred within the jurisdiction

          and state within which this Court sits so as to give rise to venue and personal jurisdiction.

    17. Subject matter    jurisdiction is conferred on this Court by Title 28 U.S.C. 51337 and by

          Title 29 U.S.C. S2l 6(b).

    18.   At all times material to this Complaint, Defendants, individually and/or collectively,   have

          employed two (2) or more employees who have regularly sold, handled, or otherwise

          worked on goods and/or materials that have or had been moved             in or   produced for

          comrnerce

    19.   At all times material to this Complaint, Defendants were, individually, and/or collectively,

          engaged in interstate commerce or in the production    of goods for commerce     as defined   in

          29 U.S.C. S203(r) and 203(s).

    20.   At all times material to this Complaint, the annual gross sales volume of the Defendants,

          individually and/or collectively, was in excess of $500,000.00 per annum.

    21.   At all times   material hereto, Defendants have constituted an enterprise engaged in

          interstate commerce or in the production of goods for commerce as defined by the FLSA,

          29 U.S.C. $203(s).




                                                Page 6   of8
Case 9:12-cv-80447-KLR Document 1 Entered on FLSD Docket 04/26/2012 Page 7 of 9



                DAMAGES, LIOUIDATED DAMAGES AND OTHER RELMT'

   22.Pluntiff has retained the Shavitz Law Group, P.A to represent her, and Plaintiff              has

       incurred, and   will   continue to incur, attorneyso fees and costs accordingly, which are a

       proper part of the relief sought in this action.

   23. Plaintiff and those similarly situated seek to recover relief from Defendants that includes,

       but is not limited to, overtime compensation, liquidated damages, and the costs              and

       reasonable attorneyso fees under the provisions of the FLSA.

                                              COTINT       I
   24. Plaintiff readopts and realleges here all allegations contained in Paragraphs    I through 23
       above.

   25. Plaintiff is entitled to be paid her overtime rate of pay for each hour worked in excess       of

       forty (40) hours per work week during the three (3) year statute of limitations period

       between approximately November 2009 and            April 2011.

    26.All similarly situated employees in the     asserted class are likewise owed'their respective

       overtime rate of pay for each overtime hour they worked and were not properly paid.

    27. Defendants' actions were intentional, willful and unlawful.

   28. By reason of the said intentional,    willful and unlawful acts of Defendants, all Plaintiffs

       @laintiff and those similady situated to her) have suffered, and those still employed

       continue to suffer, damages plus incurring costs and attorneyso fees in bringing this action.

    29. As a result of Defendants'   willful violation of the FLSA, all Plaintiffs (Plaintiffand   those

       similarly situated to her) are entitled to liquidated damages.

    30. Plaintiffdemands   ajury trial on all counts.



                                               Page 7   of8
Case 9:12-cv-80447-KLR Document 1 Entered on FLSD Docket 04/26/2012 Page 8 of 9



          WHEREFORE, Plaintiff, SUZETTE GUILLAUME, and those similarly situated to her

 who have or will opt into this action, demand judgment against Defendants, SELECT

 MEDICAL CORPORATION, SELECT EMPLOYMENT SERVICES, INC., ANd XYZ

 ENTITIES l-10, jointly and severally, for all damages, including without limitation the payment

 of all overtime hours at the respective overtime rates of pay due Plaintiff and those similarly

 situated for the hours worked by them for which they have not been properly compensated,

 liquidated damages, reasonable attorneys' fees, costs of suit, prejudgment interest, and all other

 available relief.

 Dated:   ApilA L,2012
          Boca Raton, Florida




                                                        E-mail : gshavitz@shavitlaw. com
                                                        Keith M. Stern
                                                        Florida Bar No. 321000
                                                        E-mail : kstern@shavitzlaw.com
                                                        SHAVITZ LAW GROUP, P.A.
                                                        l5l5 South Federal Hwy, Suite 404
                                                        Boca Raton, Florida 33432
                                                        Telephone: 561 -447-8888
                                                        Facsimile: 561 -447 -8831
                                                        Attorneys for Plaintiff




                                             Page 8   of8
Case 9:12-cv-80447-KLR Document 1 Entered on FLSD Docket 04/26/2012 Page 9 of 9




                                     CONSENT TO JOIN FORM


                                  to be a plaintiff in a lawsuit against Defendar(s),
                               of,p , and/orrelated entities and individuals in order to seek r€&ess
                                  r Sandards Act, ptnsuanttozg U.S.C. $ 2l(b).

            2.      I hereby designate the Shavitz Iaw Group, P.A. to r€pr€sent me in bringing such
     claim, and to make decisions on my behalf concerning the litigaion and satlement. I agree to be
     bound by any adjudication of this action by the Court, whefher it is favorable or unfavonble.



            3. I also consent to join any other relatd action agains Defends(s)             or   other
     poteirtially responsible parties to assert my claim and for this Consent Form to be filed in any
     such action.




     Signature




    -PrintName
